Case 1:23-cv-00108-LMB-JFA           Document 1411          Filed 04/17/25    Page 1 of 1 PageID#
                                           103796



                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


  UNITED STATES OF AMERICA, et al..                     )
                                                        )
                Plaintiffs,                             )
                                                        )
         V.                                             )      l;23-cv-108 (LMB/JFA)
                                                        )
  GOOGLE LLC,                                           )
                                                        )
                Defendant.                              )

                                                ORDER


        For the reasons stated in the accompanying Memorandum Opinion, Count III

 (monopolization of the advertiser ad network market) of the Amended Complaint is

 DISMISSED; and it is hereby

        ORDERED that within seven (7) days of the date of this Order the parties submit a joint

proposed schedule for briefing and arguing their positions as to the remedies that should be

 imposed in light of the defendant have been found liable for monopolization of the publisher ad

 server market (Count I), monopolization of the ad exchange market (Count II), and unlawful

tying of AdX and DFP (Count IV).

        The Clerk is directed to forward copies of this Order to counsel of record.

        Entered this 17th day of April, 2025.

 Alexandria, Virginia

                                                                                   \/)
                                                                             /sf
                                                               Leonie M. Brinkema
                                                               United States District Judge
